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BTXN 117a (rev. 10/02)
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS


In Re:                                                    §
AAC Holding Corp.                                         §
                                                          §    Case No.: 21−30057−hdh11
                                        Debtor(s)         §    Chapter No.: 11
AAC Holding Corp. et al.                                  §
                                      Plaintiff(s)        §    Adversary No.:      21−03002−hdh
      vs.                                                 §
Bradley Dietz; Cerberus Business Finance, LLC; AND        §
Don MacKenzie                                             §
                                      Defendant(s)        §
                                                          §
                                                          §
                                                          §


                          SUMMONS IN AN ADVERSARY PROCEEDING
To the above−named defendant:

You are hereby summoned and required to serve upon Jason S. Brookner, Plaintiff's attorney (or if Plaintiff is not
represented by counsel, upon Plaintiff), whose address is Gray Reed & McGraw LLP
1601 Main Street
Suite 4600
Dallas, TX 75201 , either a motion or an answer to the complaint which is now served upon you. If you elect to
respond first by motion, as you may pursuant to Fed. R. Bankr. P. 7012, that governs the time within which your
answer must be served. Otherwise, you are required to serve your answer upon Plaintiff's attorney (or upon Plaintiff if
Plaintiff is not represented by counsel) within 30 days of the date of issuance of this summons by the clerk (or by the
following date prescribed by the court: N/A) except that the United States or an office or agency thereof shall serve
an answer to the complaint within 35 days after the date of issuance of the summons.

{If this summons and complaint is served in a foreign country} Service of your answer must be made by the following
date prescribed by the court N/A.

The motion or answer served by you must be filed with this court before service or within a reasonable time after
service. IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS SUMMONS, JUDGMENT BY
DEFAULT WILL BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



DATED: 1/15/21                                 FOR THE COURT:
                                               Robert P. Colwell, Clerk of Court

                                               by: /s/J. Bergreen, Deputy Clerk
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In Re: AAC Holding Corp. et al v. Bradley Dietz et al
Case No. 21−30057−hdh11 −11
Adv. No. 21−03002−hdh

                                          SUMMONS SERVICE EXECUTED


     Jason S. Brookner
I,___________________________________________________________________________
      Gray Reed & McGraw LLP
of**_________________________________________________________________________

certify:



     If service was made by personal service, by residence service, or pursuant to state law, I further certify that I am,
and all times during service of process was, not less than 18 years of age and not a party to the matter concerning
which service of process was made;
                   20th
     That on the __________            January                           2021 I served a copy of the
                            day of ____________________________________,_______
within summons, together with the complaint filed in this proceeding, on


            Cerberus Business Finance, LLC                    The Corporation Trust Co.        C T Corportation System



the defendant in this proceeding, by {describe here the mode of service}
   via U.S. First Class mail, postage prepaid



the said defendant at     CERBERUS BUSINESS
                          FINANCE, LLC                  THE CORPORATION TRUST COMPANY              C T CORPORATION SYSTEM
                          875 Third Avenue              CORPORATION TRUST CENTER, 1209 ORANGE ST   28 LIBERTY ST.
                          New York, New York 10022      Wilmington, DE 19801                       NEW YORK, NEW YORK, 10005
                          Attention: Gerald Daniello
                          Attention: Joseph Naccarato

I certify under penalty of perjury that the foregoing is true and correct.


                          January 20, 2021
           Executed on ___________________   /s/ Jason S. Brookner
                                           _____________________________
                             (Date)                                    (Signature)



              1601 Elm Street, Suite 4600, Dallas, TX 75201
           **____________________________________________________________________
             State mailing address
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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                            ADVERSARY PROCEEDING NUMBER
                                                                                                      (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                        DEFENDANTS
AAC Holding Corp.; Prudential Capital Partners, IV, L.P.; Prudential
Capital Partners Management Fund IV, L.P.; Prudential Capital                     %UDGOH\'LHW]'RQ0DF.HQ]LHDQG&HUEHUXV
Partners (Parallel Fund) IV, L.P.; and Falcon Strategic Partners IV, L.P.         %XVLQHVV)LQDQFH//&
ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
                                                                               Adam Harris
See attached list of Plaintiffs' Counsel.                                      Schulte Roth & Zabel LLP
                                                                               919 Third Avenue
                                                                               New York, NY 10022
                                                                               adam.harris@srz.com




PARTY (Check One Box Only)                         PARTY (Check One Box Only)
Ƒ 'HEWRU    Ƒ 86 Trustee/Bankruptcy Admin        Ƒ Debtor      Ƒ U.S. Trustee/Bankruptcy Admin
Ƒ &UHGLWRU  Ƒ 2WKHU                                Ƒ Creditor    Ƒ Other
Ƒ 7UXVWHH                                          Ƒ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Declaratory Judgment (as to all Defendants); 28 U.S.C. §§ 157(b)(1), 1409, and 2201.



                                                                    NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)
Ƒ 11-Recovery of money/property - §542 turnover of property                     Ƒ 61-Dischargeability - §523(a)(5), domestic support
Ƒ 12-Recovery of money/property - §547 preference                               Ƒ 68-Dischargeability - §523(a)(6), willful and malicious injury
Ƒ 13-Recovery of money/property - §548 fraudulent transfer                      Ƒ 63-Dischargeability - §523(a)(8), student loan
Ƒ 14-Recovery of money/property - other                                         Ƒ 64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                     (other than domestic support)
    FRBP 7001(2) – Validity, Priority or Extent of Lien
Ƒ 21-Validity, priority or extent of lien or other interest in property         Ƒ 65-Dischargeability - other
                                                                                FRBP 7001(7) – Injunctive Relief

Ƒ
    FRBP 7001(3) – Approval of Sale of Property                                 Ƒ 71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)       Ƒ 72-Injunctive relief – other
    FRBP 7001(4) – Objection/Revocation of Discharge
Ƒ 41-Objection / revocation of discharge - §727(c),(d),(e)                      FRBP 7001(8) Subordination of Claim or Interest
                                                                                Ƒ 81-Subordination of claim or interest
    FRBP 7001(5) – Revocation of Confirmation
Ƒ 51-Revocation of confirmation                                                 FRBP 7001(9) Declaratory Judgment
                                                                                Ƒ; 91-Declaratory judgment
    FRBP 7001(6) – Dischargeability
Ƒ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims             FRBP 7001(10) Determination of Removed Action
                                                                              Ƒ
Ƒ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause

      actual fraud                                                            Other
Ƒ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny Ƒ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                   (continued next column)                                    Ƒ 02-Other (e.g. other actions that would have been brought in state court
                                                                                             if unrelated to bankruptcy case)
Ƒ Check if this case involves a substantive issue of state law                  Ƒ Check if this is asserted to be a class action under FRCP 23
Ƒ &KHFNLIDMXU\trial is demanded in complaint                                Demand $
Other Relief Sought
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 B1040 (FORM 1040) (12/15)

                   BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                     BANKRUPTCY CASE NO.
AAC Holdings Corp.                                21-30057
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
Northern District of Texas                                            Dallas
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)



   /s/ Jason S. Brookner

DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)

       1/14/2021                                                          Jason S. Brookner



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
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                            LIST OF PLAINTIFFS’ COUNSEL


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                                                    lwebb@grayreed.com

                                            Counsel to the Fund Plaintiffs (as to All
                                            Defendants)

                                            -and-

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                                            Lewis R. Clayton (pro hac vice pending)
                                            Robert A. Britton (pro hac vice pending)
                                            William A. Clareman (pro hac vice pending)
                                            Sean A. Mitchell (pro hac vice pending)
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                                                    smitchell@paulweiss.com

                                            Counsel to the Fund Plaintiffs (as to all
                                            Defendants except the Collateral Agent)
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 Paul M. Basta (pro hac vice pending)            Jason S. Brookner                       Susan B. Hersh
 Lewis R. Clayton (pro hac vice pending)         Texas Bar No. 24033684                  Texas Bar No. 09543925
 Robert A. Britton (pro hac vice pending)        Lydia R. Webb                           SUSAN B. HERSH, P.C.
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         wclareman@paulweiss.com                 Capital Partners Management Fund
        smitchell@paulweiss.com                  IV, L.P., Prudential Capital Partners
                                                 (Parallel Fund) IV, L.P. and Falcon
 Counsel to Plaintiffs Prudential Capital        Strategic Partners IV, LP (as to all
 Partners IV, L.P., Prudential Capital           Defendants)
 Partners Management Fund IV, L.P.,
 Prudential Capital Partners (Parallel Fund)
 IV, L.P. and Falcon Strategic Partners IV, LP
 (as to all Defendants except Cerberus
 Business Finance, LLC)

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 In re:                                                                              Chapter 11

 AAC HOLDING CORP.,                                                                  Case No. 21-30057 (HDH)

                              Debtor.                                                (Joint Administration Requested)

 AAC HOLDING CORP., PRUDENTIAL CAPITAL
 PARTNERS IV, L.P., PRUDENTIAL CAPITAL
 PARTNERS MANAGEMENT FUND IV, L.P.,
 PRUDENTIAL CAPITAL PARTNERS (PARALLEL
 FUND) IV, L.P., and FALCON STRATEGIC
 PARTNERS IV, LP,

                              Plaintiffs,                                            Adversary No. 21-______

            v.

 BRADLEY DIETZ, DON MACKENZIE, and
 CERBERUS BUSINESS FINANCE, LLC,

                              Defendants.

                                                     COMPLAINT


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                   Prudential Capital Partners IV, L.P., Prudential Capital Partners Management Fund

IV, L.P., Prudential Capital Partners (Parallel Fund) IV, L.P. (collectively, “PCP”) and Falcon

Strategic Partners IV, LP (“Falcon,” and together with PCP, the “Fund Plaintiffs”) as creditors and

indirect shareholders of American Achievement Corporation (“AAC” or the “Company”) and its

subsidiaries, and voluntary debtor AAC Holding Corp. (“AAC Holding,” and together with Fund

Plaintiffs, “Plaintiffs”), as AAC’s corporate parent, file this complaint (the “Complaint”) against

Bradley Dietz (“Dietz”), Don MacKenzie (“MacKenzie”), and Cerberus Business Finance, LLC

(“Cerberus” or the “Collateral Agent,” and together with Dietz and MacKenzie, “Defendants”)

and, on information and belief, allege as follows:

                                          INTRODUCTION

                   1.     This action seeks to remedy an ineffective attempt by AAC’s directors,

acting at the Collateral Agent’s direction, to replace the boards of AAC’s subsidiaries with the

Collateral Agent’s handpicked directors, with the ultimate goal of facilitating a prejudicial

transaction that will benefit the Company’s senior lenders to the detriment of all other stakeholders,

including the Plaintiffs.      As a result of Defendants’ invalid actions, there is a substantial

controversy concerning the identity of the directors of AAC’s subsidiaries, which are involuntary

debtors in these cases. If left unresolved, this dispute threatens to increase the delay and expense

associated with these cases, will create substantial uncertainty as to the exercise of corporate

powers by the involuntary debtors, and will produce inevitable litigation at a time when all

interested parties should be focused on finding a solution to minimize disruption to AAC’s

business and maximize its value as a going concern. Plaintiffs therefore submit that the Court

should resolve this issue now, and affirm that the actions taken by AAC’s board to replace the

subsidiaries’ directors were void, and of no force and effect.



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                   2.   AAC is a leading publisher of yearbooks, manufacturer and direct marketer

of scholastic and graduation products, including jewelry, apparel, and affinity products, and

provider of graduation commencement services, including professional graduation photography

services, to the scholastic (K-12), collegiate, and associated alumni markets. Due in large part to

growth-spurring investments by the Fund Plaintiffs since 2015, the Company has grown into a

self-sustaining enterprise. The Fund Plaintiffs are creditors of AAC and its operating subsidiaries,

and hold senior subordinated notes in a face amount of $124 million; the Fund Plaintiffs also own,

indirectly, controlling equity interests in AAC through its parent company, Plaintiff AAC Holding.

Cerberus serves as the Collateral Agent for AAC’s $330 million senior secured term loan facility

under a Financing Agreement dated as of September 30, 2015 (as amended, the “Financing

Agreement”), and is the majority lender under that facility.

                   3.   Given the nature of its business, AAC has been significantly but temporarily

adversely affected by the ongoing COVID-19 pandemic. School-related sales account for a

substantial proportion of AAC’s business, and year-end events such as graduations and yearbooks

are substantial drivers of AAC’s annual cash flows. During the pandemic, in addition to the

broader economic recession affecting businesses nationwide, school semesters in 2020 ended early

and most year-end graduation ceremonies were canceled or deferred, leading to significant

declines in graduation product sales, impairing AAC’s profitability in 2020.

                   4.   The Collateral Agent and the lenders it represents (the “Lenders”) have

seized on the pandemic as an opportunity to profit from their senior position in the capital structure

at the expense of AAC’s other stakeholders. To that end, on information and belief, the Collateral

Agent is preparing to force AAC into a transaction—effectuated through a sale or foreclosure

process (collectively, a “Control Transaction”)—premised on a depressed valuation, that will



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allow the secured Lenders to walk away with the entire AAC enterprise (or repayment of their

loans), and capture or sell off 100% of its considerably greater forecasted equity value. While this

plan may serve the Lenders’ interests, it threatens to wipe out or impair the junior debt and equity

that Plaintiffs own in the process.

                   5.   That outcome is avoidable. AAC is clearly in need of short term bridge

funding—it recently missed an interest payment totaling $5.4 million due to its term lenders and

is in default of all of its funded indebtedness—but it remains a fundamentally sound business, and

is expected to return to profitability once widespread vaccination leads to the normal resumption

of in-person gatherings, likely by the end of this year.

                   6.   AAC’s short term position has been made more precarious by the fact that

it is currently in default under the Financing Agreement. Its default arose from its failure to find

a potential buyer for its publishing business, which its finance documents required pursuant to an

amendment made in March 2020 at the onset of the pandemic. To help manage that default, on

December 14, 2020, AAC engaged Houlihan Lokey as a financial advisor to assist it in

negotiations with its creditor constituencies, including the Lenders, with the ultimate goal of

bridging the Company through the current downturn and preserving its enterprise value.

                   7.   The Lenders, however, have a different plan for the Company, and upon

learning that the Company had retained an independent financial advisor, immediately took steps

to seize control. The default under the Financing Agreement gives the Collateral Agent the power,

pursuant to a Pledge and Security Agreement dated as of September 30, 2015 (the “Security

Agreement”), to exercise irrevocable proxies (the “Proxies”) to vote the shares held by AAC, its

parent, and several of its direct and indirect subsidiaries. The Collateral Agent and other Lenders

opposed the Company’s engagement of an independent financial advisor—who the Lenders



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believed would not promote their own, narrow interests—and immediately set out to control

AAC’s Board in response. The Collateral Agent exercised the Proxies to deliver a stockholder

consent removing all members of AAC’s Board of Directors—which at that time had five directors

and two vacancies—and installing Defendants Dietz and MacKenzie as the sole directors, leaving

five vacancies. The next day, December 16, Dietz and MacKenzie passed an ineffective board

resolution by unanimous written consent purporting to install themselves as the sole directors for

all of AAC’s direct and indirect subsidiaries. Through this resolution, the Collateral Agent and its

directors sought to take complete control of AAC and its subsidiaries, thereby creating a pathway

to implement their value-destructive plan. The Collateral Agent, Dietz, and MacKenzie then acted

immediately to fire Houlihan Lokey.

                   8.   However, Defendants’ hastily staged takeover of the Company’s

governance suffered from a glaring flaw: Dietz and MacKenzie did not have the authority under

the Company’s By-Laws to remove the directors of AAC’s subsidiaries or install new directors.

The By-Laws require a quorum of at least a majority of the directorships (at that time, four of the

seven directorships) to act; moreover, the Delaware General Corporation Law (“DGCL”) requires

a quorum of at least one-third of the total number of directorships comprising the Board (at that

time, three of seven directorships) to take any action. By installing only two directors, and

removing the others, the Collateral Agent effectively incapacitated AAC’s Board. As then

constituted, AAC’s Board could not take any action for the Company, including removing and

installing directors at AAC’s subsidiaries. In addition, even if there were a quorum on December

16—and there was not—a resolution by AAC’s Board would not be sufficient to replace the

directors of all of AAC’s subsidiaries. In the case of subsidiaries that are Delaware corporations,

that can be accomplished only at a stockholder meeting for each applicable subsidiary or through



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the execution of valid written stockholder consents (as to which the Collateral Agent holds

irrevocable proxies). On information and belief, none of this has occurred. On January 10, 2021,

in a further ineffective effort to address these omissions, the Collateral Agent executed a second

shareholder consent, this time amending the Company’s By-Laws to reduce the number of

directors from seven to two, and purporting to have retroactive effect to December 15, 2020. Yet

this more recent attempt cured none of the defects in the December 16 board resolution. As a

matter of Delaware law, the January 10 stockholder consent could not retroactively give a board

that lacked a quorum power it did not have when purportedly exercised on December 16. Section

228(c) of the DGCL expressly permits executing stockholder consents effective as of a future time,

as does Section 141(f) of the DGCL with respect to director consents, “[b]ut nothing in the DGCL

allows the corporation or stockholders to make the effective date [of a stockholder consent]

retroactive, and no decisions have blessed doing so.” Mehta v. Mobile Posse, Inc., No. CV 2018-

355, 2019 WL 2025231, at *7 n.55 (Del. Ch. May 8, 2019). Moreover, the January 10 stockholder

consent merely changed the number of directorships on AAC’s board going forward; it did not

purport to remove or replace directors at any of AAC’s subsidiaries.

                   9.   On information and belief, Defendants’ actions, while ineffective, had a

purpose that went beyond routine corporate governance. The Collateral Agent represents the

interests of AAC’s senior secured Lenders, and is itself the largest such Lender to AAC. The

Collateral Agent and the other Lenders know very well that AAC’s business is sound despite its

temporarily depressed cash flows. Yet the Collateral Agent and the Lenders are pursuing a Control

Transaction to advance their own interests despite knowing that all other stakeholders—including

junior creditors and AAC’s direct and indirect equity holders—will come away with nothing, or




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pennies on the dollar for the hundreds of millions of dollars they have invested into the business

over time.

                   10.   This scheme plainly threatens significant harm to Plaintiffs’ interests as

creditors and as direct and indirect controlling shareholders of AAC and its subsidiaries. On

information and belief, AAC and its subsidiaries cannot pay their debts as they come due, and as

such its directors have a fiduciary duty to take into account the interests of all stakeholders,

including creditors. Yet, as a result of the Defendants’ actions, there is a substantial controversy

concerning who the duly appointed fiduciaries of the subsidiaries are, and who has authority to

direct the affairs of those debtors. The efficient administration of the chapter 11 cases will be

undermined by this uncertainty, which will inevitably expand the scope of litigation and related

expenses in the future if not addressed now.

                   11.   As a result of these chapter 11 cases, the Collateral Agent, as the entity

holding irrevocable proxies to vote the shares of AAC and its subsidiaries, is precluded from

enforcing its voting rights by operation of the automatic stay, and therefore no action may be taken

at this time to change the composition of the subsidiaries’ boards. See, e.g., In re Texas Rangers

Baseball Partners, 434 B.R. 393, 404 (Bankr. N.D. Tex. 2010); In re Hutchison, No. 01-46374-

BJH-11, 2002 Bankr. LEXIS 2014, at *13 (Bankr. N.D. Tex. Jan. 18, 2002); In re Bicoastal

Corp., No. 89-8198-8P1,1989 Bankr. LEXIS 2046, at *18 (Bankr. M.D. Fla. Nov. 21, 1989).

Plaintiffs’ primary interest is in resolving this dispute concerning the identities of the subsidiaries’

directors, and to that end Plaintiffs have, concurrently with this filing, sent the Collateral Agent a

proposal to appoint mutually agreeable independent directors for AAC and its subsidiaries. Absent

such an agreement, this significant controversy requires action by this Court.




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                   12.   Plaintiffs therefore seek declaratory relief to affirm that the December 16

resolution purporting to remove and replace the subsidiaries’ directors is null and void, and that

the directors seated at AAC’s subsidiaries prior to that resolution remain duly appointed directors

of those entities.

                                              PARTIES

                   13.   Plaintiff Prudential Capital Partners IV, L.P. is a limited partnership

organized under the laws of the State of Delaware with its principal place of business at Two

Prudential Plaza, Suite 5200, 180 North Stetson Street, Chicago, Illinois, 60601.

                   14.   Plaintiff Prudential Capital Partners Management Fund IV, L.P. is a limited

partnership organized under the laws of the State of Delaware with its principal place of business

at Two Prudential Plaza, Suite 5200, 180 North Stetson Street, Chicago, Illinois, 60601.

                   15.   Plaintiff Prudential Capital Partners (Parallel Fund) IV, L.P. is a limited

partnership organized under the laws of the State of Delaware with its principal place of business

at Two Prudential Plaza, Suite 5200, 180 North Stetson Street, Chicago, Illinois, 60601.

                   16.   Plaintiff Falcon Strategic Partners IV, LP is a limited partnership organized

under the laws of the State of Delaware with its principal place of business at 21 Custom House

Street, 10th Floor, Boston, Massachusetts, 02110.

                   17.   Plaintiff AAC Holding Corp. is a corporation organized under the laws of

the State of Delaware with its principal place of business at 1550 W. Mockingbird Lane, Dallas,

Texas 75235.

                   18.   Defendant Bradley Dietz is a natural person residing in the State of New

York.




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                   19.   Defendant Don MacKenzie is a natural person residing in the State of

Michigan.

                   20.   Defendant Cerberus Business Finance, LLC is a limited liability company

organized under the laws of the State of Delaware with its principal place of business at 875 Third

Avenue, New York, New York, 10022.

                                  JURISDICTION AND VENUE

                   21.   This is an adversary proceeding pursuant to Rule 7001 of the Federal Rules

of Bankruptcy Procedure.

                   22.   This Court has jurisdiction over this adversary proceeding pursuant to 28

U.S.C. § 1334.

                   23.   This adversary proceeding relates to following cases pending in the Dallas

Division of the United States Bankruptcy Court for the Northern District of Texas: In re AAC

Holding Corp., Case No. 21-30057 (HDH); In re American Achievement Corp., Case No. 21-

30058-11; In re Commemorative Brands Inc., Case No. 21-30062-11; In re Taylor Publishing

Company, Case No. 21-30068-11; In re Iconic Group Inc., Case No. 21-30064-11; In re Taylor

Senior Holding Corp., Case No. 21-30073-11; In re TP Holding Corp., Case No. 21-30072-11; In

re Taylor Manufacturing Holdings LLC, Case No. 21-30069-11; In re Taylor Publishing

Manufacturing L.P., Case No. 21-30067-11; In re CBI North America Inc., Case No. 21-30061-

11; In re Gaspard Ltd, Case No. 21-30063-11; In re University Cap and Gown Inc., Case No. 21-

30071-11; In re Willsie Cap and Gown LLC, Case No. 21-30070-11; In re Braddock Holding LLC,

Case No. 21-30060-11; In re Gaspard & Sons, Inc., Case No. 21-30065-11; and In re Gaspard

and Sons Mayaguez Inc., Case No. 21-30066-11.

                   24.   This is a core proceeding under 28 U.S.C. § 157(b)(1).



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                   25.   Venue is proper pursuant to 28 U.S.C. § 1409.

                   26.   The basis for the relief requested is 28 U.S.C. § 2201.

                   27.   Plaintiffs consent to the entry of final orders or judgment by the Bankruptcy

Court.

                   28.   The Defendants are properly joined in this action pursuant to Rule 20 of the

Federal Rules of Civil Procedure, made applicable by Bankruptcy Rule 7020, because the right to

relief asserted against all Defendants arises out of the same transaction, occurrence, or series of

transactions and occurrences, and questions of law and fact common to all Defendants will arise

in this action.

                   29.   This Court has personal jurisdiction over Defendants because, among other

things, they reside in the United States, and because they have purposefully availed themselves of

the privilege of doing business in this District by, among other things, appointing directors to

AAC’s board in this District and serving as directors of AAC’s Board in this District.

                                          BACKGROUND

AAC’s Business, Corporate Structure, and Capital Structure

                   30.   AAC is a leading publisher of yearbooks, manufacturer and direct marketer

of scholastic and graduation products, including jewelry, apparel, and affinity products, and

provider of graduation commencement services, including professional graduation photography

services, to the scholastic (K-12), collegiate, and associated alumni markets.

                   31.   AAC currently operates its business through several direct and indirect

subsidiaries. AAC’s direct subsidiaries include Iconic Group, Inc. (“Iconic”) (a graduation

photography business), Taylor Senior Holding Corp. (a producer of yearbooks), Braddock Holding

LLC (a holding company for a business manufacturing academic regalia, clergy vestments, choral



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robes, and legal and judicial attire), and Commemorative Brands, Inc. (a producer of rings,

graduation-related products, and affinity products).

                   32.    AAC’s direct corporate parent is Plaintiff AAC Holding, a Delaware

corporation and one of the Debtors in these bankruptcy cases. AAC Holding is an indirect, wholly-

owned subsidiary of AAC Iconic Holdings LLC. AAC Iconic Holdings LLC is majority owned

by the Fund Plaintiffs.

                   33.    Exhibit A to this Complaint is an organizational chart that summarizes the

corporate and capital structures of AAC, its parents, and its subsidiaries.

                   34.    AAC and its affiliates have outstanding funded debt obligations of

approximately $494 million, which consist of approximately:

                          a)     $339 million in secured borrowings under a term loan (the “OpCo

           Term Loan”) under the Financing Agreement;

                          b)     An undrawn revolving line of credit (the “OpCo Revolving Credit

           Facility”) under the Financing Agreement;

                          c)     $124 million in principal amount of certain unsecured 14% senior

           subordinated notes (the “OpCo Subordinated Notes”) issued by AAC, Iconic, Taylor

           Publishing Company, and Commemorative Brands, Inc., and guaranteed by certain other

           of AAC’s direct and indirect parent and subsidiary entities;

                          d)     $21 million in principal amount of certain promissory notes issued

           by AAC Iconic Holdings LLC (the “Subordinated HoldCo Notes”);

                          e)     $11 million in principal amount of a term loan by AAC Iconic

           Holdings LLC and guaranteed by Falcon (the “Subordinated HoldCo Term Loan”); and




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                          f)     $5 million in additional unsecured obligations of the Company’s

           operating entities.

                   35.    Since 2015, Plaintiffs PCP and Falcon have made substantial investments

in AAC that have allowed it to grow into the company it is today. These investments have

exceeded $282 million cumulatively, through a combination of subordinated debt and equity

investments described in detail below.

                   36.    Until 2015, the Company was mainly a manufacturing company focused on

high school rings and yearbooks. As of 2015, it had launched no new products in fifteen years and

its customer orders were still made in person, largely through folding tables in schools. Then, in

July 2015, the Company agreed to acquire Gaspard LP, a leading North American manufacturer

and distributor of academic regalia, clergy vestments, choral robes, and legal and judicial attire

(now held by AAC subsidiary Braddock Holding LLC). In September 2015, the Fund Plaintiffs

invested $111 million, in the form of OpCo Subordinated Notes and preferred equity, as part of a

refinancing of the Company’s balance sheet and the Gaspard acquisition. PCP and Falcon also

helped to recruit new management to develop a plan to transform the Company, including

introducing new products for the first time in over a decade and developing digital platforms for

distribution of those products.

                   37.    In February 2017, in exchange for additional preferred equity, the Fund

Plaintiffs invested an additional $20 million to fund the Company’s capital expenditures as it

rapidly invested in digital transformation.

                   38.    In May 2018, PCP and Falcon spent approximately $64 million to acquire

Iconic, a graduation photography business, which was subsequently merged into the AAC

corporate structure in May 2019. In the May 2019 merger, PCP and Falcon invested an additional



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$35.3 million in exchange for additional preferred equity, and also agreed to receive interest on

the OpCo Subordinated Notes in kind rather than in cash.

                   39.   In August and September 2018, PCP invested an additional $20 million in

the Company to fund overages in digital investments and to ensure the Company had adequate

liquidity during this period of growth, in exchange for additional preferred equity. And in October

2019 and February 2020, PCP and Falcon invested $11 million in the Company to provide liquidity

support as the Company implemented its business plan and to support the Company’s acquisition

of another photography business.

                   40.   As a result of their substantial investments in AAC’s business since 2015,

Plaintiffs PCP and Falcon indirectly own a controlling stake in AAC. At the time of the

commencement of these chapter 11 cases, the Fund Plaintiffs together own 97% of the preferred

units of AAC Iconic Holdings LLC’s membership interests (AAC’s ultimate parent company), and

94% of the common units of the AAC Iconic Holdings LLC’s membership interests. Together,

they currently hold $124 million of the OpCo Subordinated Notes.

                   41.   By virtue of their equity ownership, Plaintiffs PCP and Falcon had

representatives on the Boards of AAC and its subsidiary Iconic. PCP’s representatives on both

Boards were directors Jeffrey Dickson and Stephen Szejner, and Falcon’s representatives were

Matthew White and Sandeep Alva. The remaining director on the Boards of AAC and Iconic was

AAC’s CEO, Robert Myers.

COVID-19’s Severe, but Temporary, Impact on AAC’s Business

                   42.   The onset of the COVID-19 pandemic has had a dramatic and adverse

impact on AAC’s business. The unforeseeable and unprecedented events of the past year have,

together with public health measures aimed at combating the virus, caused significant but short

term declines in demand for the Company’s core products. In particular, demand for school

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graduation products and services has plummeted as high schools and colleges across the United

States and Canada ended semesters early, and cancelled or deferred graduation ceremonies and

events to prevent in-person gatherings. Prior to the onset of the pandemic, the Company was on

track with respect to its business plan and to generate $57 million in EBITDA for fiscal year 2020

(which runs through August 31). Due to the pandemic, however, the Company’s 2020 fiscal year

EBITDA dropped to approximately $18 million—a 68% decrease.

                   43.   While the pandemic’s short-term impact on the Company’s cash position

has been substantial, the Company’s long-term prospects remain strong. Although the Company

is presently facing liquidity challenges and lacks the cash to fund its obligations as they come

due—it recently missed an interest payment totaling $5.4 million (representing a $3.2 million

monthly interest payment and $2.2 million of default interest) on its debt that was due on January

4, 2021 and is in default of the Financing Agreement—the fundamentals of its business have been

unaffected. With vaccinations against the COVID-19 virus underway and a macroeconomic

recovery and return to normalcy in sight, the Company’s future is, once again, bright—as it was

before the pandemic began. It is anticipated that, although 2021 financial results will be adversely

affected, in a post-pandemic environment the Company will resume its growth trajectory and

execute on its business plan.

The Company Unsuccessfully Tries to Delever by Selling Its Publishing Business

                   44.   In March 2020, when the effects of the pandemic on AAC’s business first

became clear, the Company embarked on a plan to sell its publishing business, including Taylor

Publishing Company and its subsidiaries, to decrease its leverage and fund its operations. This

sale effort was undertaken at the insistence of the Lenders in exchange for covenant relief

necessitated by the pandemic, and as of March 31, 2020, the Financing Agreement was amended

to require AAC to meet certain milestones in connection with the potential sale. These milestones

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included receipt of a non-binding letter of intent, term sheet or other written proposal for the sale

by August 31, 2020, and entry into a definitive agreement by November 15, 2020. Meeting the

milestones was required to maintain the covenant relief that the Company needed to withstand the

effects of the pandemic on its business.

                   45.   At the same time, Plaintiffs PCP and Falcon stepped up once again to give

aid to the Company in the form of new money, and to shore up the Company’s balance sheet to

help AAC weather the economic downturn. Together, the Fund Plaintiffs invested $20.5 million

via the purchase of preferred equity to fund (i) a $13 million pay-down of the OpCo Revolving

Credit Facility and (ii) a $7.5 million prepayment of cash interest on the OpCo Term Loan. They

also agreed to backstop $5 million of the OpCo Revolving Credit Facility to ensure that the

Company’s working capital needs were met in the short term.

                   46.   Despite the Company’s marketing efforts, AAC was unable to effectuate a

sale of the publishing business and meet its milestones under the Financing Agreement. As a

consequence, the Collateral Agent declared an Event of Default on December 1, 2020, and that

default has not been cured.

The Collateral Agent Tries to Seize Control of AAC’s Corporate Structure

                   47.   The existence of an Event of Default gives the Collateral Agent substantial

voting control over AAC and its subsidiaries. Under the Security Agreement, due to the default,

the Collateral Agent has an irrevocable proxy to vote the shares of AAC, and the shares of its

subsidiaries. Plaintiffs, despite their direct and indirect equity ownership of AAC’s stock, cannot

influence a vote of AAC’s shares while the Event of Default is continuing.

                   48.   Over the past several months, on information and belief, it has become

increasingly clear that the Collateral Agent is seeking to capitalize on its controlling position over

the Company and its assets to benefit the Lenders at the expense of all other stakeholders by

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effecting a Control Transaction at a depressed valuation that will significantly impair Plaintiffs’

interests. This is a cynical attempt to leverage the temporary damage caused by the COVID-19

pandemic for the Collateral Agent’s own benefit. The Collateral Agent well knows that AAC will

return to profitability once the pandemic has passed, and that the Company’s intrinsic value

remains robust. Indeed, the Collateral Agent has told members of AAC’s management team that

it believes in the Company’s long-term prospects. The Collateral Agent is seeking to capture that

value now for the Lenders, leaving all other stakeholders behind.

                   49.   These efforts were escalated and accelerated by the Collateral Agent in

December 2020 immediately after it learned that AAC had retained an independent financial

advisor, Houlihan Lokey, to explore strategic options to bridge the Company through the pandemic

and manage its default. Under the Security Agreement, various AAC entities—including AAC

itself, AAC Holding, Commemorative Brands, Inc., Taylor Senior Holding Corp., TP Holding

Corp., and Taylor Publishing Company—pledged their assets, including the shares they hold in

their respective subsidiaries, as collateral for their obligations to the Lenders under the Financing

Agreement. Section 4(a)(i) of the Security Agreement required these entities to execute the

Proxies, which give the Collateral Agent the power, during the continuance of an Event of Default

under the Financing Agreement, to vote the shares held by these entities. Section 7(b)(i) of the

Security Agreement further provides that, during the continuance of an event of default, “all rights

of each Grantor [i.e., each AAC entity party to the Security Agreement] to exercise the voting and

other consensual rights which it would otherwise be entitled to exercise . . . shall thereupon become

vested in the Collateral Agent, which shall thereupon have the sole right to exercise such voting

and other consensual rights.”




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                   50.   On December 15, 2020—one day after Houlihan Lokey was retained in the

face of the Collateral Agent’s opposition—the Collateral Agent used the Proxy granted by AAC

Holding (which owns all of AAC’s shares) to deliver a written stockholder consent (the “AAC

Stockholder Consent”). The AAC Stockholder consent removed all five members then serving on

AAC’s seven-member Board—Messrs. Myers, White, Alva, Dickson, and Szejner—and replaced

them with two directors handpicked by the Collateral Agent, Defendants Dietz and MacKenzie.

A copy of the AAC Stockholder Consent is attached to this Complaint as Exhibit B. Following

this action, Houlihan Lokey was promptly terminated.

                   51.   Notably, the AAC Stockholder Consent did not reduce the size of AAC’s

Board, which at that time had seven members. AAC’s By-Laws require Board action—not

shareholder action—to decrease the number of directors. (Ex. C Art. III § 1); see also 8 Del. C.

§ 141(b) (providing that number of directors is fixed as provided in corporation’s by-laws or

certificate of incorporation). Thus, despite AAC’s seating of two directors and removal of all

others, after the AAC Stockholder Consent, AAC’s Board continued to have seven directorships,

five of them vacant.

                   52.   By leaving AAC with only two directors, the Collateral Agent disabled the

Board from taking further action with respect to its subsidiaries or otherwise. AAC’s By-Laws

provide that “a majority of the whole Board shall constitute a quorum for the transaction of

business,” and the “whole Board” is defined as the total number of directorships including

vacancies. (Ex. C Art. III §§ 1, 11.) Thus, without at least four members, AAC’s Board lacked a

quorum and could not do anything. Moreover, Delaware law sets a statutory minimum quorum of

“1/3 of the total number of directors,” 8 Del. C. § 141(b), which on a seven-member board is three

directors. AAC’s Board—which at that time had seven directorships but only two members in



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office—could not lawfully function, and any action Defendants Dietz and MacKenzie purported

to take as directors was necessarily ultra vires and in violation of AAC’s By-Laws and the DGCL.

                   53.   Despite their clear legal incapacity to act, the Collateral Agent’s new

directors immediately began an effort to seize control of AAC’s subsidiaries. Specifically, on

December 16, 2020, Defendants Dietz and MacKenzie purported to adopt a unanimous written

consent of the Board (the “Purported AAC Board Consent”) replacing the boards of several AAC

subsidiaries (collectively referred to as the “Changed Entities” in the Purported AAC Board

Consent). A copy of the Purported AAC Board Consent is attached to this Complaint as Exhibit

C. The Changed Entities consist of four direct AAC subsidiaries (Iconic, Taylor Senior Holdings

Corp., Braddock Holding LLC, and Commemorative Brands, Inc.) and five indirect AAC

subsidiaries (TP Holding Corp., Taylor Publishing Company, Taylor Manufacturing Holdings,

LLC, Taylor Publishing Manufacturing, L.P., and CBI North America, Inc.). All of the Changed

Entities are formed under Delaware law and subject to the DGCL or comparable Delaware statutes

applicable to limited liability companies and limited partnerships.

                   54.   The Purported AAC Board Consent resolved that “all of the Existing

Directors be, and each hereby is, removed as a director or manager of [the] Company or each of

the Changed Entities,” and that “the size of the board of directors, the board of managers or similar

governing body of each of the Changes [sic] Entities is fixed [at] two (2) directors or managers, as

applicable.” The Purported AAC Board Consent further resolved that “each of Bradley Dietz and

Don MacKenzie is elected to serve as a director or manager of each of the Changed Entities, as

applicable.”

                   55.   The Purported AAC Board Consent was ineffective because the two-person

board composed of Dietz and MacKenzie lacked a quorum and had no power to act. But even if



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there had been a quorum, the Purported AAC Board Consent would not have been sufficient to

affect the boards of any of the Changed Entities that are Delaware corporations. Under Delaware

law, a board resolution of a corporate parent, on its own, is not a sufficient legal instrument to

change the composition of a subsidiary; directors must be removed and elected by shareholders at

an annual meeting or through a valid written stockholder consent. See 8 Del. C. §§ 141(k)

(requiring stockholder action to remove directors), 211 (regarding taking of stockholder action at

a meeting), 228 (regarding taking of stockholder action by written consent). On information and

belief, no such meeting was held and no valid written stockholder consents have been delivered. 1

                   56.   The actions taken by Dietz and MacKenzie on December 16, 2020, were

ineffective because the board lacked a quorum. On January 10, 2021, the Collateral Agent

appeared to recognize this defect, and adopted a second stockholder consent (the “Second AAC

Stockholder Consent”) purporting to amend AAC’s By-Laws to reduce the number of

directorships on AAC’s board from seven to two, and purporting to make the amendment

retroactive to December 15, 2020. A copy of the Second AAC Stockholder Consent is attached

as Exhibit D. While the Second AAC Stockholder Consent amended AAC’s By-Laws and the

number of directorships going forward, it was, as a matter of Delaware law, incapable of



1
     As indicated above, three of the Changed Entities are not Delaware corporations, but rather are
     limited liability companies or limited partnerships: Braddock Holding LLC, Taylor
     Manufacturing Holdings, LLC and Taylor Publishing Manufacturing, L.P. With respect to
     those three entities, the Purported AAC Board Consent stated: “to the extent any of the
     Changed Entities does not have a board of directors, board of managers or similar governing
     body, then such Changed Entity shall either continue to be managed by another Changed Entity
     or shall hereafter be managed by the Company, as applicable.” Thus, the Purported AAC
     Board Consent left unchanged the management of Braddock Holding LLC (which is managed
     by its sole member, AAC) and Taylor Publishing Manufacturing, L.P. (which is managed by
     its general partner, Commemorative Brands, Inc., itself one of the Changed Entities), and
     Taylor Manufacturing Holdings, LLC (which is managed by a single manager). To the extent
     the Purported AAC Board Consent did attempt to change the management of any of these three
     entities, it was ineffective under their respective governing agreements and Delaware law.

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retroactively imbuing AAC’s Board with a quorum as of December 16. See Mehta v. Mobile

Posse, Inc., No. CV 2018-355, 2019 WL 2025231, at *7 n.55 (Del. Ch. May 8, 2019) (“To be sure,

the effective date was misstated on the face of the written consent. . . . But nothing in the DGCL

allows the corporation or stockholders to make the effective date retroactive, and no decisions have

blessed doing so.”). It also did not operate (or even claim to operate) as a written stockholder

consent removing or appointing directors at any of AAC’s subsidiaries. Both because there was

no quorum on December 16, and because no valid written stockholder consent has been given with

respect to the removal and replacement of AAC’s board, the purported governance changes to

AAC’s subsidiaries by AAC’s directors are null and void.

                   57.   As explained above, the Security Agreement and Proxies vest sole right to

exercise the voting power of these entities in the Collateral Agent during the continuance of an

event of default. Thus, any stockholder consent to change the board composition of the Changed

Entities must be executed and delivered by the Collateral Agent. The Collateral Agent can no

longer exercise that power because all of the shares of the Changed Entities are assets of the

involuntary debtors in these chapter 11 cases, and the Collateral Agent cannot exercise control

over these assets without violating the automatic stay. See 11 U.S.C. § 362; In re Texas Rangers

Baseball Partners, 434 B.R. 393, 404 (Bankr. N.D. Tex. 2010); In re Hutchison, No. 01-46374-

BJH-11, 2002 Bankr. LEXIS 2014, at *13 (Bankr. N.D. Tex. Jan. 18, 2002); In re Bicoastal

Corp., No. 89-8198-8P1,1989 Bankr. LEXIS 2046, at *18 (Bankr. M.D. Fla. Nov. 21, 1989).

                   58.   The unlawful actions of the Collateral Agent, Dietz and MacKenzie threaten

to impair the Company’s management during this critical time and harm Plaintiffs and all other

parties-in-interest in these cases. Dietz and MacKenzie have (unlawfully) purported to act in the

Company’s name and ousted all existing directors (including the Fund Plaintiffs’ representatives)



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from the Company’s operating subsidiaries at a time when the Collateral Agent is making

preparations to effect a Control Transaction that will significantly impair the rights of all other

stakeholders. Plaintiffs PCP and Falcon’s interests will be harmed if this plan is consummated:

their junior debt will be significantly impaired, and their equity interests potentially wiped out.

Plaintiff AAC Holding’s equity value will be similarly harmed.

                   59.   Plaintiffs sincerely hope to resolve these issues consensually, and are

willing to do so through the appointment of independent directors at AAC and each of its direct

and indirect subsidiaries that are mutually acceptable to Plaintiffs and the Collateral Agent.

Plaintiffs have presented this offer to Defendants in correspondence dated today, transmitted

concurrently with the filing of this complaint. Moreover, for the sake of preserving value,

Plaintiffs are prepared to offer to finance the Company in the short term to bridge AAC to the end

of the pandemic and the resumption of normal business activity in its core markets.

                   60.   Accomplishing these goals requires the good faith cooperation of the

Collateral Agent and functioning boards of directors with whom to negotiate at AAC’s

subsidiaries. Indeed, in the context of a chapter 11 case, it is imperative that AAC’s subsidiaries

have functioning governing bodies. Moreover, lingering disputes regarding the identities of the

directors at AAC’s subsidiaries—who are also debtors in these cases—will sow considerable,

value-destructive uncertainty regarding who has authority to act for those companies and make

critical decisions regarding their future. This uncertainty should be resolved now by declaratory

relief. 2




2
     While Plaintiffs seek only declaratory relief in this action, they reserve all rights to hold the
     Collateral Agent, the other Lenders, and their appointed directors to account for damages
     caused to the Company and its business by their actions.

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                                        CAUSE OF ACTION

                           COUNT I – DECLARATORY JUDGMENT
                              (AGAINST ALL DEFENDANTS)

                   61.   Plaintiffs incorporate by reference and re-allege each allegation set forth

above as though fully set forth herein.

                   62.   The Fund Plaintiffs are creditors of AAC and its subsidiaries. Plaintiffs are

also equity holders of AAC Iconic Holdings LLC, which indirectly owns all of the shares of AAC.

                   63.   Plaintiff AAC Holding directly owns all of the shares of AAC.

                   64.   On information and belief, AAC is unable to pay its debts as they come due.

As such, AAC and its subsidiaries, directors and controlling shareholders owe fiduciary duties to

take into account the interests of all of AAC’s stakeholders, including shareholders and creditors.

                   65.   The Purported AAC Board Consent is invalid because it was signed by only

two directors, which did not constitute a lawful quorum under either Article III, Section 11 of

AAC’s By-Laws or 8 Del. C. § 141(b). By executing the Purported AAC Board Consent, Dietz

and MacKenzie violated (and the Collateral Agent caused Dietz and MacKenzie to violate) their

duties to AAC’s shareholders and creditors, including Plaintiffs, and invalidly purported to remove

the Fund Plaintiffs’ representatives from Iconic’s board of directors.           The Second AAC

Stockholder Consent, which purported to amend AAC’s By-Laws to reduce the number of

directors to two, was ineffective as a matter of law to retroactively empower the Board to act as of

December 16, 2020.

                   66.   The Purported AAC Board Consent is also legally ineffective to change the

composition of the boards of directors of AAC’s corporate subsidiaries because, under Delaware

law, a shareholder may alter the composition of a corporation’s board only at a stockholder meeting

or by a valid written consent. See 8 Del. C. §§ 141(k), 211, 228. On information and belief, no


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such stockholder meeting has been held and no such written stockholder consent has been

delivered. With respect to AAC’s non-corporate subsidiaries, no action compliant with their

respective governing documents was taken to change their respective managers or general partner

(as applicable). Moreover, under the Security Agreement and Proxies, during the continuation of

an event of default under the Financing Agreement, only the Collateral Agent may vote the shares

of the relevant AAC subsidiaries, and, on information and belief, the Collateral Agent has not done

so. It cannot do so now as a consequence of the automatic stay. The only shareholder consent that

purported to remove or replace any directors pertains solely to AAC, in the form of the AAC

Stockholder Consent dated December 15, 2020, and does not encompass any of AAC’s direct or

indirect subsidiaries.

                   67.   Plaintiffs have suffered injury-in-fact due to the execution of the Purported

AAC Board Consent, which has undermined the management of AAC’s subsidiaries and is in

furtherance of the Collateral Agent’s scheme to harm Plaintiffs and other stakeholders in AAC and

its affiliates, and by the invalid removal of the Fund Plaintiffs’ representatives from Iconic’s board.

                   68.   There is a substantial, immediate, and real controversy between Plaintiffs

and Defendants regarding whether the Purported AAC Board Consent is lawful and valid;

regarding whether the Purported AAC Board Consent was effective in changing the composition

of the boards (or managers, or general partner, as applicable) of the AAC subsidiaries listed as

“Changed Entities” therein; and regarding the identities of the directors, managers, or general

partners (as applicable) at the subsidiaries following execution of the Purported AAC Board

Consent.

                   69.   Plaintiffs seek a declaration that the Purported AAC Board Consent is void;

that the Purported AAC Board Consent was ineffective in changing the composition of the boards



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(or managers, or general partner, as applicable) of the AAC subsidiaries listed as “Changed

Entities” therein, that a valid shareholder consent was required to change the boards (or managers,

or general partner, as applicable) of those entities, and that the composition of the boards (or

managers, or general partner, as applicable) of the Changed Entities remains the same as it was on

December 15, 2020 before the Purported AAC Board Consent was executed.

                                        PRAYER FOR RELIEF

                   For the reasons set forth above, Plaintiffs respectfully request judgment be entered

in their favor as follows:

                          a) Declaring that the Purported AAC Board Consent is invalid and void;

                          b) Declaring that the Purported AAC Board Consent was ineffective in

                              changing the composition of the boards (or managers, or general

                              partner, as applicable) of the AAC subsidiaries listed as “Changed

                              Entities” therein;

                          c) Declaring that the composition of the boards (or managers, or general

                              partner, as applicable) of the Changed Entities remains the same as on

                              December 15, 2020;

                          d) Awarding costs and expenses incurred in this action, including, but not

                              limited to, experts’ and attorneys’ fees; and

                          e) Granting additional relief as the Court deems just and proper.



                   Plaintiffs reserve the right to seek all remedies available at law and equity.




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 Dated: January 14, 2021
        Dallas, Texas

 /s/ Susan B. Hersh_________________         /s/ Jason S. Brookner_________________
 Susan B. Hersh                              Jason S. Brookner
 State Bar No. 09543925                      Texas Bar No. 24033684
 SUSAN B. HERSH, P.C.                        Lydia R. Webb
 12770 Coit Road, Suite 1100                 Texas Bar No. 24083758
 Dallas, Texas 75251                         GRAY REED & McGRAW LLP
 Telephone: (972) 503-7070                   1601 Elm Street, Suite 4600
 Facsimile: (972) 503-7077                   Dallas, Texas 75201
 Email: susan@susanbhershpc.com              Telephone: (214) 954-4135
                                             Facsimile: (214) 953-1332
 Proposed Counsel to Plaintiff AAC Holding   Email: jbrookner@grayreed.com
                                                     lwebb@grayreed.com

                                             Counsel to the Fund Plaintiffs (as to All
                                             Defendants)

                                             -and-

                                             Paul M. Basta (pro hac vice pending)
                                             Lewis R. Clayton (pro hac vice pending)
                                             Robert A. Britton (pro hac vice pending)
                                             William A. Clareman (pro hac vice pending)
                                             Sean A. Mitchell (pro hac vice pending)
                                             PAUL, WEISS, RIFKIND, WHARTON &
                                             GARRISON LLP
                                             1285 Avenue of the Americas
                                             New York, New York 10019
                                             Telephone: (212) 373-3000
                                             Facsimile: (212) 757-3990
                                             Email: pbasta@paulweiss.com
                                                    lclayton@paulweiss.com
                                                    rbritton@paulweiss.com
                                                    wclareman@paulweiss.com
                                                    smitchell@paulweiss.com

                                             Counsel to the Fund Plaintiffs (as to all
                                             Defendants except the Collateral Agent)




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                            American Achievement Corporate Structure

                                                                                                                                          KEY
                                              AAC Iconic Holdings LLC
                                                                                                                              OpCo Credit Facility

                                                                                                                              OpCo Subordinated Notes
                                                           100%
                                                                                                                              HoldCo Subordinated Notes
                                                    AAC Iconic                                                                HoldCo Subordinated Term Loan
                                             Intermediate Holdings LLC
                                                                                                                              Guarantor
                                                           100%                                                               I = Involuntary Debtor

                                              American Achievement                                                            V = Voluntary Donor

                                               Group Holding Corp.                                                            Equity pledged pursuant to the Pledge &
                                                                                                                              Security Agreement in connection with the
                                                                                                                              OpCo Credit Facility
                                                           100%

                                             American Achievement
                                           Intermediate Holding Corp.

                                                           100%

                                              AAC Group Holding Corp.

                                                           100%
                                                                          V
                                                AAC Holding Corp.

                                                           100%
                                                                             II
                                               American Achievement
                                                   Corporation

                                                           100%                                              100%             100%                       100%

                                                                         I                                                            Graduate Sales, Ltd.
                                           Taylor Senior Holding Corp.                                                                    DORMANT
                                                   (Yearbooks)

                                                           100%                                                                Commemorative I
            100%
                        I                                                I                                                        Brands, Inc.
                                                 TP Holding Corp.                                                             (Rings, Graduation,
   Iconic Group, Inc.
                                                                                                                               Affinity Products)
                                                           100%                                                           96%                            100%
            100%
                                                                          II                                                                              I
    EPG Canda Ltd.                         Taylor Publishing Company                                                               CBI North America, Inc.
      (Ontario)
                                                                                                                                                         4%
            100%
                                         100%                                     99%     1%                                            Baldesigns
     Grad-Images                                                                                                                  de Mexico, S.A. de C.V.**
                                                       I                                    I
     Canada, Ltd.             Taylor Manufacturing                 Taylor Publishing                                                     (Mexico)
      (Ontario)                   Holdings, LLC                   Manufacturing, L.P.


  Balfour Scholarship
      Foundation                                                                                                       I
        (Texas)                                                                                   Braddock Holding LLC**
[non-stock corporation;
no assets or operations]

                                       100%                             100%                                 100%                                               100%
                             Gaspard Bermuda                     Fairmedes                                                I
                                                                                                                                                Gaspard Regalia Inc.
                              Holdings Ltd.**              Academic Apparel Inc.                       Gaspard Ltd.
                                                                                                                                                 (British Columbia)
                                (Bermuda)                     (Saskatchewan)
                                      100%
                                                   I                                            100%                              100%
                            Gaspard & Sons, Inc.
                               (Puerto Rico)                                            University      I                                            I
                                                                                                                          Willsie
                                                                                  Cap and Gown Co., Inc.
                                                                                                                      Cap & Gown LLC
                                      100%                                           (Massachusetts)
                             Gaspard and Sons      I
                              Mayaguez Inc.
                               (Puerto Rico)
                                                                                                                      * Unless noted otherwise, all entities formed in Delaware.
                                                                                                                      **Equity Pledge covers 65/66% of outstanding equity.
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                                   WRITTEN CONSENT OF THE

                                        SOLE STOCKHOLDER

                       OF AMERICAN ACHIEVEMENT CORPORATION

                                           December 15, 2020


               Pursuant to the provisions of Section 228 of the General Corporation Law (the
“DGCL”) of the State of Delaware and consistent with the provisions of the certificate of
incorporation and the bylaws (the “Bylaws”) of American Achievement Corporation, a Delaware
corporation (the “Corporation”), the undersigned, being the holder of 100% of the outstanding
common stock, par value $0.000001 per share, of the Corporation (the “Sole Stockholder”), in
lieu of holding a formal meeting, adopts by written consent the following resolutions with the
same force and effect as if they had been adopted at a duly convened meeting of stockholders:

                WHEREAS, the Corporation is party to (a) that certain Financing Agreement,
dated as of September 30, 2015 (as amended, restated, supplemented, modified or otherwise
changed from time to time, including any replacement agreement therefor, the “Financing
Agreement”), by and among AAC Holding Corp., a Delaware corporation (the “Parent”), the
Corporation, each subsidiary of the Parent listed as a “Borrower” on the signature pages thereto
(together with the Corporation and each other Person that executes a joinder agreement and
becomes a “Borrower” thereunder, each a “Borrower” and collectively, the “Borrowers”), each
subsidiary of the Parent listed as a “Guarantor” on the signature pages thereto (together with the
Parent and each other Person that executes a joinder agreement and becomes a “Guarantor”
thereunder or otherwise guaranties all or any part of the Obligations, each a “Guarantor” and
collectively, the “Guarantors”), the lenders from time to time party thereto (each a “Lender” and
collectively, the “Lenders”), Cerberus Business Finance, LLC, a Delaware limited liability
company (“CBF”), in its capacity as collateral agent for the Secured Parties (in such capacity,
together with its successors and assigns in such capacity, if any, the “Collateral Agent”) and
PNC Bank, National Association (“PNC”), as administrative agent for the Lenders (in such
capacity, together with its successors and assigns in such capacity, the “Administrative Agent”
and together with the Collateral Agent, each an “Agent” and collectively, the “Agents”), and
(b) that certain Pledge and Security Agreement, dated as of September 30, 2015 (as amended,
restated, supplemented, modified or otherwise changed from time to time, including any
replacement agreement therefor, the ”Security Agreement”, and together with the Financing
Agreement, the “Financing Documents”; capitalized terms used herein and not otherwise defined
herein are used herein as defined in the Financing Agreement or the Security Agreement, as the
case may be), made by each of the Grantors referred to therein in favor of the Collateral Agent;

               WHEREAS, pursuant to the Financing Documents, among other things and on
the terms and subject to the conditions set forth therein, (a) upon the occurrence and during the
continuance of an Event of Default, all rights of each Grantor, including the Parent, to exercise
the voting and other consensual rights that it would otherwise be entitled to exercise pertaining to
the Pledged Interests shall cease and all such rights shall thereupon become vested in the
Collateral Agent, which shall thereupon have the sole right to exercise such voting and other

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consensual rights, and (b) each Grantor, including the Parent, has irrevocably appointed the
Collateral Agent as its attorney-in-fact and proxy, with full authority in the place and stead of
such Grantor and in the name of such Grantor or otherwise, to take any action and to execute any
instrument that the Collateral Agent deems necessary or advisable to accomplish the purposes of
the Security Agreement, including, without limitation, upon the occurrence and during the
continuance of an Event of Default, to take any action which the Collateral Agent may deem
necessary or desirable for the collection of any Collateral or otherwise to enforce the rights of
each Secured Party with respect to any Collateral;

               WHEREAS, pursuant to Article II, Section 10 of the Bylaws, any action which
may be taken at any meeting of the stockholders may be taken without a meeting, without prior
notice and without a vote, if a consent, in writing, setting forth the action so taken, shall be
signed by the holders of outstanding stock having not less than the minimum number of votes
necessary to take such action at a meeting at which all shares entitled to vote thereon are present
and shall be delivered to the Corporation;

               WHEREAS, pursuant to Article III, Section 3 of the Bylaws, a director of the
Corporation may be removed at any time, with or without cause, by the holders of a majority of
the shares then entitled to vote at an election of directors;

               WHEREAS, the Sole Stockholder wishes to remove, effective as of the date
hereof, each of the directors of the Corporation (each, an “Existing Director”);

               WHEREAS, pursuant to Section 223 of the DGCL and Article III, Section 5 of
the Bylaws, any vacancy on the board of directors of the Corporation may be filled by persons
receiving a plurality of the votes cast at a meeting of stockholders; and

              WHEREAS, the Sole Stockholder wishes to elect, effective as of the date hereof,
Bradley Dietz and Don MacKenzie, each to serve as a director of the Corporation.

                  NOW, THEREFORE, BE IT:

               RESOLVED, that, effective as of the date hereof, each of the Existing Directors
be, and each hereby is, removed as a director of the Corporation;

               FURTHER RESOLVED, that the Sole Stockholder hereby elects, effective as of
the date hereof, each of Bradley Dietz and Don MacKenzie to serve as a director of the
Corporation, each to serve until his earlier death, resignation or removal, and to hold office until
his successor shall have been elected and shall have qualified;

                FURTHER RESOLVED, that the appropriate directors and officers of the
Corporation be and each of them is hereby authorized, empowered and directed to do and
perform such acts and things which such appropriate director or officer deems necessary or
desirable to carry out the foregoing resolutions or to consummate the transactions contemplated
by the foregoing resolutions, with such modifications, revisions, amendments or further
agreements, instruments or documents as such appropriate director or officer, in his or her
discretion, may deem necessary or desirable and in the best interests of the Corporation, and such
appropriate director or officer’s taking of any such action, for and on behalf and in the name of
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the Corporation, and such appropriate director or officer’s execution, delivery and filing, for and
on behalf of and in the name of the Corporation, of any such agreement, instrument or document
shall be conclusive evidence that he or she did so deem the same to be necessary or desirable and
in the best interests of the Corporation;

               FURTHER RESOLVED, that the Sole Stockholder may deliver this written
consent to the Corporation by facsimile or e-mail transmission, and no confirmation of such
delivery by the mailing or personal delivery of an executed original of this written consent to the
Corporation shall be required in order for this written consent to be effective; and

              FURTHER RESOLVED, that this written consent shall be irrevocable and filed
with the minutes of the proceedings of the stockholders of the Corporation.

               IN WITNESS WHEREOF, the undersigned have executed this written consent as
of the date and year first indicated above.
                                                       AAC HOLDING CORP.

                                                       By: CERBERUS BUSINESS FINANCE, LLC
                                                           (as Collateral Agent pursuant to the power
                                                           of attorney and the other rights granted
                                                           thereto pursuant to the Financing
                                                           Documents)



                                                       By:
                                                             Name: Joseph Naccarato
                                                             Title: Chief Operating Officer
                                                                    and Chief Credit Officer




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                        Exhibit D
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                                    WRITTEN CONSENT OF THE

                                         SOLE STOCKHOLDER

                       OF AMERICAN ACHIEVEMENT CORPORATION

                                              January 10, 2021


               Pursuant to the provisions of Section 228 of the General Corporation Law (the
“DGCL”) of the State of Delaware and consistent with the provisions of the certificate of
incorporation and the bylaws (the “Bylaws”) of American Achievement Corporation, a Delaware
corporation (the “Corporation”), the undersigned, being the holder of 100% of the outstanding
common stock, par value $0.000001 per share, of the Corporation (the “Sole Stockholder”), in
lieu of holding a formal meeting, adopts by written consent the following resolutions with the
same force and effect as if they had been adopted at a duly convened meeting of stockholders:

                WHEREAS, the Corporation is party to (a) that certain Financing Agreement,
dated as of September 30, 2015 (as amended, restated, supplemented, modified or otherwise
changed from time to time, including any replacement agreement therefor, the “Financing
Agreement”), by and among AAC Holding Corp., a Delaware corporation (the “Parent”), the
Corporation, each subsidiary of the Parent listed as a “Borrower” on the signature pages thereto
(together with the Corporation and each other Person that executes a joinder agreement and
becomes a “Borrower” thereunder, each a “Borrower” and collectively, the “Borrowers”), each
subsidiary of the Parent listed as a “Guarantor” on the signature pages thereto (together with the
Parent and each other Person that executes a joinder agreement and becomes a “Guarantor”
thereunder or otherwise guaranties all or any part of the Obligations, each a “Guarantor” and
collectively, the “Guarantors”), the lenders from time to time party thereto (each a “Lender” and
collectively, the “Lenders”), Cerberus Business Finance, LLC, a Delaware limited liability
company (“CBF”), in its capacity as collateral agent for the Secured Parties (in such capacity,
together with its successors and assigns in such capacity, if any, the “Collateral Agent”) and
PNC Bank, National Association (“PNC”), as administrative agent for the Lenders (in such
capacity, together with its successors and assigns in such capacity, the “Administrative Agent”
and together with the Collateral Agent, each an “Agent” and collectively, the “Agents”), and
(b) that certain Pledge and Security Agreement, dated as of September 30, 2015 (as amended,
restated, supplemented, modified or otherwise changed from time to time, including any
replacement agreement therefor, the ”Security Agreement”, and together with the Financing
Agreement, the “Financing Documents”; capitalized terms used herein and not otherwise defined
herein are used herein as defined in the Financing Agreement or the Security Agreement, as the
case may be), made by each of the Grantors referred to therein in favor of the Collateral Agent;

               WHEREAS, pursuant to the Financing Documents, among other things and on
the terms and subject to the conditions set forth therein, (a) upon the occurrence and during the
continuance of an Event of Default, all rights of each Grantor, including the Parent, to exercise
the voting and other consensual rights that it would otherwise be entitled to exercise pertaining to
the Pledged Interests shall cease and all such rights shall thereupon become vested in the
Collateral Agent, which shall thereupon have the sole right to exercise such voting and other

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consensual rights, and (b) each Grantor, including the Parent, has irrevocably appointed the
Collateral Agent as its attorney-in-fact and proxy, with full authority in the place and stead of
such Grantor and in the name of such Grantor or otherwise, to take any action and to execute any
instrument that the Collateral Agent deems necessary or advisable to accomplish the purposes of
the Security Agreement, including, without limitation, upon the occurrence and during the
continuance of an Event of Default, to take any action which the Collateral Agent may deem
necessary or desirable for the collection of any Collateral or otherwise to enforce the rights of
each Secured Party with respect to any Collateral;

               WHEREAS, pursuant to Article II, Section 10 of the Bylaws, any action which
may be taken at any meeting of the stockholders may be taken without a meeting, without prior
notice and without a vote, if a consent, in writing, setting forth the action so taken, shall be
signed by the holders of outstanding stock having not less than the minimum number of votes
necessary to take such action at a meeting at which all shares entitled to vote thereon are present
and shall be delivered to the Corporation;

               WHEREAS, pursuant to Article VIII, Section 1 of the Bylaws and Section 109 of
the DGCL, the stockholders of the Company entitled to vote have the power to adopt, amend or
repeal the Bylaws; and

              WHEREAS, the Sole Stockholder wishes to amend certain provisions of the
Bylaws regarding the number of directors.

                  NOW, THEREFORE, BE IT:

              RESOLVED, that, effective as of December 15, 2020, Article III, Section 1 of
the Bylaws shall be amended to read in full as follows:

                  Section 1.      Number of Directors. Except as otherwise provided in the
                  Certificate of Incorporation of the Corporation, until such time as the Board of
                  Directors determines otherwise, the number of directors shall be two (2). The
                  number of directors may be reduced (but not to less than one) or increased from
                  time to time by action of a majority of the whole Board, but no decrease may
                  shorten the term of an incumbent director. When used in these By-laws, the term
                  “whole Board” means the total number of directors.

                FURTHER RESOLVED, that the appropriate directors and officers of the
Corporation be and each of them is hereby authorized, empowered and directed to do and
perform such acts and things which such appropriate director or officer deems necessary or
desirable to carry out the foregoing resolutions or to consummate the transactions contemplated
by the foregoing resolutions, with such modifications, revisions, amendments or further
agreements, instruments or documents as such appropriate director or officer, in his or her
discretion, may deem necessary or desirable and in the best interests of the Corporation, and such
appropriate director or officer’s taking of any such action, for and on behalf and in the name of
the Corporation, and such appropriate director or officer’s execution, delivery and filing, for and
on behalf of and in the name of the Corporation, of any such agreement, instrument or document


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         [Signature Page to Written Consent of the Sole Stockholder of American Achievement Corporation]
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shall be conclusive evidence that he or she did so deem the same to be necessary or desirable and
in the best interests of the Corporation;

               FURTHER RESOLVED, that the Sole Stockholder may deliver this written
consent to the Corporation by facsimile or e-mail transmission, and no confirmation of such
delivery by the mailing or personal delivery of an executed original of this written consent to the
Corporation shall be required in order for this written consent to be effective; and

              FURTHER RESOLVED, that this written consent shall be irrevocable and filed
with the minutes of the proceedings of the stockholders of the Corporation.

                IN WITNESS WHEREOF, the undersigned have executed this written consent
as of the date and year first indicated above.
                                                        AAC HOLDING CORP.

                                                        By: CERBERUS BUSINESS FINANCE, LLC
                                                            (as Collateral Agent pursuant to the power
                                                            of attorney and the other rights granted
                                                            thereto pursuant to the Financing
                                                            Documents)



                                                        By:
                                                              Name: Joseph Naccarato
                                                              Title: Chief Operating Officer
                                                                     and Chief Credit Officer




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BTXN 090 (rev. 12/09)
                                           UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF TEXAS


In Re:                                                                §
AAC Holding Corp.                                                     §
                                                                      §     Case No.: 21−30057−hdh11
                                                Debtor(s)             §     Chapter No.: 11
AAC Holding Corp. et al.                                              §
                                                Plaintiff(s)          §     Adversary No.:        21−03002−hdh
      vs.                                                             §
Bradley Dietz et al.                                                  §
                                                Defendant(s)          §


         ORDER REGARDING ADVERSARY PROCEEDINGS TRIAL SETTING AND
                     ALTERNATIVE SCHEDULING ORDER
    An adversary complaint is set for trial routinely at the time of its filing. Special settings or pretrial conferences
may be scheduled by contacting the appropriate Courtroom Deputy.

     TRIAL is set before the Honorable Harlin DeWayne Hale at the US BANKRUPTCY COURT, 1100
COMMERCE STREET, 14TH FLOOR, COURTROOM NO. 3, DALLAS, TEXAS, 75242 the week of
6/7/2021. Docket call for this trial will be held on 5/24/2021 at 9:00 AM at the US BANKRUPTCY COURT, 1100
COMMERCE STREET, 14TH FLOOR, COURTROOM NO. 3, DALLAS, TEXAS, 75242. A pretrial
conference shall be scheduled by the parties at least seven (7) calendar days prior to trial docket call in a complex
adversary proceeding if the parties anticipate that trial will exceed one day or if there are preliminary matters that
should be addressed by the Court prior to the commencement of trial.

PART I: INSTRUCTIONS
1. Plaintiff is responsible for ensuring that proper service is provided to each defendant. The Clerk shall issue one original summons, which
shall be conformed by the plaintiff for service on multiple defendants. Federal Bankruptcy Rule 7004(e) requires you to serve the fully
completed SUMMONS form and a copy of the COMPLAINT on each defendant within seven (7) days of issuance. In addition, the Court
also directs that this ORDER be served with the SUMMONS and COMPLAINT.

2. Plaintiff shall file a RETURN on the SUMMONS with a CERTIFICATE OF SERVICE that provides the name
and address of each party served and the manner of service.

3. If a trial setting is passed for settlement at trial docket call and no written request is filed to retain the case on the
Court's docket, an automatic Dismissal Without Prejudice shall be entered on or after four (4) weeks. The Court's
Trial Calendar is available on the court's web site at www.txnb.uscourts.gov.
PART II: GENERAL PROVISIONS GOVERNING DISCOVERY
1. Unless otherwise ordered by the Court, the disclosures required by Federal Bankruptcy Rule 7026(a) shall be made within fourteen (14)
days of the entry of a scheduling order, including the Alternative Scheduling Order contained in Part III below (which shall become effective
on the forty−sixth day following the entry of this Order.

2. Unless the parties agree or the Court orders otherwise, Federal Bankruptcy Rule 7026(f) requires that parties shall
confer to consider the nature and basis of their claims and defenses and the possibilities for a prompt settlement or
resolution of the case, to make or arrange for the disclosures required by Federal Bankruptcy Rule 7026(a)(1), to
develop a proposed discovery plan, and to submit a proposed scheduling order. The parties shall confer with each
other regarding these matters within thirty (30) days of the service of the Summons unless the Court orders otherwise.

3. During such conference, the parties may agree to waive the requirement of submitting their own proposed
scheduling order and may follow the terms and deadlines contained in the Alternative Scheduling Order set forth in
Part III below (the "Alternative Scheduling Order"). If the parties do not submit a proposed scheduling order or do
not schedule a status conference with the Court to discuss the provisions and deadlines of a scheduling order within
forty−five days of the filing of this adversary proceeding, then the parties are deemed to have consented to the terms
of the Alternative Scheduling Order.

PART III: ALTERNATIVE SCHEDULING ORDER
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The Court directs compliance with the following schedule:

1. Discovery must be completed forty−five (45) days prior to Docket Call. The names and addresses of experts must
be exchanged sixty (60) days prior to Docket Call.

2. A Joint Pretrial Order in compliance with Local District Court Rule 16.4 shall be filed, served, and uploaded for
Court entry seven (7) days prior to Docket Call. All counsel (or a pro se party) are responsible for preparing the Joint
Pretrial Order, which shall contain the following: (a) a summary of the claims and defenses of each party; (b) a
statement of stipulated facts; (c) a list of the contested issues of fact; (d) a list of contested issues of law; (e) an
estimate of the length of trial; (f) a list of additional matters which would aid in the disposition of the case; and (g) the
signature of each attorney (or pro se party).
3. Each exhibit shall be marked with an exhibit label. Except for impeachment documents, all exhibits, along with a list of witnesses to be
called, shall be exchanged with opposing counsel (or pro se party) fourteen (14) days prior to Docket Call. Each party shall also file a list of
exhibits and witnesses fourteen (14) days prior to Docket Call. All exhibits not objected to in writing by Docket Call shall be admitted into
evidence at trial without further proof, except for objections to relevance. Written objections to exhibits will be taken up either at the
beginning or during the course of the actual trial or at any pretrial conference.

4. Written Proposed Findings of Fact and Conclusions of Law shall be filed seven (7) days prior to Docket Call. Trial
briefs shall be filed addressing contested issues of law seven (7) days prior to Docket Call.
5. Unless otherwise directed by the Presiding Judge, all dispositive motions must be heard no later than fourteen (14) days prior to Docket
Call. Accordingly, all dispositive motions must be filed no later than forty−five (45) days prior to Docket Call, unless the Court modifies this
deadline.

6. All parties and counsel must certify to full compliance with this Order at Docket Call. If a resetting is allowed by
the Court, the plaintiff or plaintiff's attorney shall notify all other parties and shall file with the Clerk a certificate of
service indicating the manner, date, and to whom notice was given.

7. If the case is reset, all the deadlines in Part III nos. 1 through 5 will be shifted to the newly scheduled Docket Call
date in the absence of a contrary Court order.

8. Sanctions may be imposed for failure to comply with this Order.



DATED: 1/15/21                                            FOR THE COURT:
                                                          Robert P. Colwell, Clerk of Court

                                                          by: /s/J. Bergreen, Deputy Clerk
